         Case 1:20-cv-02285-ALC Document 40 Filed 10/05/20 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


MAX A. RADY,
                                                   Case No.: 1:20-cv-02285 (ALC)
             Plaintiff,

                          v.                        Judge Andrew L. Carter, Jr.

THE BOSTON CONSULTING GROUP, INC.
and De BEERS UK LIMITED,                            ORAL ARGUMENT REQUESTED

             Defendants.


 DEFENDANT THE BOSTON CONSULTING GROUP INC.’S NOTICE OF MOTION
    TO DISMISS PLAINTIFF’S PATENT INFRINGEMENT CLAIM (COUNT I)

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Motion to Dismiss, Defendant The Boston Consulting Group, Inc. (“BCG”), by and through

its undersigned attorneys, will move this Court, before the Honorable Andrew L. Carter, Jr.,

United States District Court Judge, for an order dismissing Count I of Plaintiff Max A. Rady’s

Second Amended Complaint (ECF No. 30) for failure to state a claim upon which relief can be

granted pursuant to Federal Rule of Civil Procedure 12(b)(6).
       Case 1:20-cv-02285-ALC Document 40 Filed 10/05/20 Page 2 of 3




Dated: New York, New York             Respectfully Submitted,
       October 5, 2020
                                      MORRISON & FOERSTER LLP

                                      By: s/ Kyle Mooney
                                         Kyle W.K. Mooney
                                         250 West 55th Street
                                         New York, New York 10019
                                         Telephone: (212) 468-8000
                                         Facsimile: (212) 468-7900
                                         Email: KMooney@mofo.com

                                         Michael A. Jacobs (pro hac vice pending)
                                         425 Market Street
                                         San Francisco, CA 94105
                                         Telephone: (415) 268-7000
                                         Facsimile: (415) 268-7522
                                         Email: MJacobs@mofo.com

                                         Counsel for Defendant
                                         THE BOSTON CONSULTING GROUP,
                                         INC.
         Case 1:20-cv-02285-ALC Document 40 Filed 10/05/20 Page 3 of 3




                                CERTIFICATE OF SERVICE


       I, Neal F. Burstyn, HEREBY CERTIFY that on October 5, 2020, a true and correct copy

of the foregoing document was filed and served via Electronic Case Filing (ECF) on all counsel

of record who have consented to electronic service, and served via electronic mail on all counsel

listed below:

               Steven E. Tiller                              Christopher P. Borello
               7 St. Paul Street                          1270 Avenue of the Americas
            Baltimore, MD 21202                           New York, New York 10020
          Telephone: (410) 347-9425                        Telephone: (212) 218-2100
          Facsimile: (410) 223-4325                        Facsimile: (212) 218-2200
          Email: stiller@wtplaw.com                       Email: cborello@venable.com




 Dated: October 5, 2020
                                                                 Neal F. Burstyn
